Case 2:10-cr-20235-DPH-RSW ECF No. 551, PageID.4371 Filed 09/10/15 Page 1 of 5




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                                     Case No. 10-20235
       Plaintiff,
                                                     HON. DENISE PAGE HOOD
 v.

 LEHRUE WILLIAM FREEMAN-PAYNE (D-2),

      Defendant.
 __________________________________________/

      ORDER DENYING MOTIONS TO EXTEND REPORTING DATE

       This matter is before the Court on Defendant Lehrue Freeman-Payne’s Motion

 to Extend Reporting Date to self-surrender for an additional 60 days filed August 31,

 2015 and an Emergency Motion to Extend Reporting Date filed September 10, 2015.

 The Government opposes any further extension to report.

       On July 14, 2015, the Court granted Defendant’s Emergency Motion to Extend

 Report Date for 60 days until September 11, 2015 in light of the Sixth Circuit Court

 of Appeals’ expedited briefing schedule even though at sentencing the Court indicated

 it would not extend Defendant’s report date. (Doc. No. 539; Doc. No. 545 Pg ID

 4281) The Court’s order was based on defense counsel’s representation that briefing

 will be completed by the end of August 2015 and that defense counsel would be able

 to continue to advise Defendant if he were to remain in Michigan for 60 days.
Case 2:10-cr-20235-DPH-RSW ECF No. 551, PageID.4372 Filed 09/10/15 Page 2 of 5




       Defendant’s second motion asserts that his appellant brief was filed on August

 13, 2015, that the Government filed its appellee brief on August 27, 2015 and that

 appellant’s reply brief is due September 14, 2015. Oral argument is scheduled for

 October 15, 2015 and Defendant expects the Sixth Circuit to issue an order shortly

 thereafter. Defendant seeks to self-surrender another 60 days to allow for entry of the

 Sixth Circuit’s order on appeal.

       The Government argues that the second request to extend the report date should

 be denied based on the Court’s initial ruling that it would not grant an extension to

 report. The Government further argues that Defendant does not meet the requirements

 under the Bail Reform Act of 1984, 18 U.S.C. § 3143, which requires detention

 pending appeal because Defendant was convicted of an offense under 18 U.S.C. §

 3142(f)(1)(C).

       Detention pending appeal is governed by 18 U.S.C. § 3143(b) which states:

                     (1) Except as provided in paragraph (2), the judicial
              officer shall order that a person who has been found guilty
              of an offense and sentenced to a term of imprisonment, and
              who has filed an appeal or a petition for a writ of certiorari,
              be detained, unless the judicial officer finds–
                     (A) by clear and convincing evidence that the person
              is not likely to flee or pose a danger to the safety of any
              other person or the community if released under section
              3142(b) or (c) of this title; and
                     (B) that the appeal is not for the purpose of delay and
              raises a substantial question of law or fact likely to result
              in–

                                            2
Case 2:10-cr-20235-DPH-RSW ECF No. 551, PageID.4373 Filed 09/10/15 Page 3 of 5




                     (I) reversal,
                     (ii) an order for a new trial,
                     (iii) a sentence that does not include a term of
                     imprisonment, or
                     (iv) a reduced sentence to a term of
                     imprisonment less than the total of the time
                     already served plus the expected duration of
                     the appeal process.
              If the judicial officer makes such findings, such judicial
              officer shall order release of the person in accordance with
              section 3142(b) or (c) of this title, except that in the
              circumstance described in subparagraph (B)(iv) of this
              paragraph, the judicial officer shall order the detention
              terminated at the expiration of the likely reduced sentence.
                     (2) The judicial officer shall order that a person who
              has been found guilty of an offense in a case described in
              subparagraph (A), (B), or (C) of subsection (f)(1) of section
              3142 and sentenced to a term of imprisonment, and who
              has filed an appeal or a petition for a writ of certiorari, be
              detained.

 18 U.S.C. § 3143(b). 18 U.S.C. § 3142((f)(1)(C) involves crimes under the Controlled

 Substances Act where the maximum term of imprisonment is ten years or more. The

 maximum term in Defendant’s case is 40 years or more. 21 U.S.C. § 841(b). It is

 noted that at sentencing, the Government did not move to take Defendant into custody.

 (Doc. No. 545, Pg ID 4281) However, under § 3143(b)(2) Defendant must be detained

 pending appeal.

       Even if § 3143(b)(2) is inapplicable, the Court finds that there is clear and

 convincing evidence Defendant will not flee pending appeal, in light of the fact that

 he has yet to flee and has not shown that he is a danger to the community while

                                            3
Case 2:10-cr-20235-DPH-RSW ECF No. 551, PageID.4374 Filed 09/10/15 Page 4 of 5




 awaiting his sentencing and a ruling on his appeal. However, in light of the Sixth

 Circuit Court of Appeals affirming this Court’s decision issued on September 10,

 2015, Defendant cannot now show that his appeal raises a substantial question of law

 or fact likely to result in reversal, an order for a new trial, a sentence that does not

 include a term of imprisonment, or a reduced sentence to a term of imprisonment

 imposed. The Court finds Defendant cannot meet the requirements under § 3143(b)

 to be placed on bond since a ruling has now been issued by the Sixth Circuit.

       As to Defendant’s claim that he now requires additional time to prepare to close

 his businesses and travel to FCI-Allenwood in White Deer, Pennsylvania by

 September 11, 2015, Defendant raised this same reason in his first Motion to Extend

 Reporting Date. (Doc. No. 538, Pg ID 4164-65)

       Accordingly,




                                            4
Case 2:10-cr-20235-DPH-RSW ECF No. 551, PageID.4375 Filed 09/10/15 Page 5 of 5




       IT IS ORDERED that Defendant Lehrue Freeman-Payne’s Second Motion to

 Extend Reporting Date to Self-Surrender (Doc. No. 547) and Emergency Motion to

 Extend Reporting Date (Doc. No. 550) are DENIED. Defendant must self-surrender

 to the facility designated by the BOP by September 11, 2015, 12 noon.


                         S/Denise Page Hood
                         Denise Page Hood
                         United States District Judge

 Dated: September 10, 2015

 I hereby certify that a copy of the foregoing document was served upon counsel of
 record on September 10, 2015, by electronic and/or ordinary mail.

                         S/LaShawn R. Saulsberry
                         Case Manager




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